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                                                                    Mayer Engelsberg
                                                         <mengelsberg@nklawllp.com>


         The New Yorker
                                                                      Wed, Nov 24, 2021 at
         Bertoni, Fabio <fabio_bertoni@newyorker.com>
                                                                                12:34 PM
         To: Mayer Engelsberg <mengelsberg@nklawllp.com>

           Mayer:

           The New Yorker declines to identify responsive records, if any. I'm
           attaching a formal letter of objection to the subpoena, to facilitate and
           clarify any application to the Court. Thank you, and I hope you have a
           good holiday.

           Sincerely,
           Fabio Bertoni



           On Tue, Nov 23, 2021 at 3:59 PM Mayer Engelsberg
           <mengelsberg@nklawllp.com> wrote:
            Hello Fabio,
            I appreciate your view of the law. Understandably, our position differs
            from yours. We decline to withdraw the subpoena.

             If, as your last email indicates, you will not produce any materials on
             the basis of privilege, kindly provide a privilege log in compliance with
             Fed.R.Civ.P. 26(b)(5)(A)(ii). It is our position that a reporter's privilege is
             similar to other claims of privileges in that the party claiming the
             protection of the privilege bears the burden of proof as to its
             application. See, e.g., Solis v. Food Emp'rs Labor Relations Ass'n, 644
             F.3d 221, 232 (4th Cir.2011). The party must assert “privilege/protection
             with particularity for each document, or category of documents, for
             which privilege/protection is claimed.” Victor Stanley, Inc. v. Creative
             Pipe, Inc., 250 F.R.D. 251, 267 (D. Md. 2008). “Guideline 10(d)(ii)(b) of
             the Local Rules provides additional information that a party objecting to
             the production of a particular document under an analogous provision
             of the federal rules, see Fed.R.Civ.P. 26(b)(5)(A)(ii), should include in
             its particularized description of the allegedly protected documents.”
             Am. Home Assur. Co. v. KBE Bldg. Corp., No. CIV. CCB-13-1941, 2015



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             WL 348292, at *13 (D. Md. Jan. 13, 2015) ((i) the type of document; (ii)
             the general subject matter of the document; (iii) the date of the
             document; and (iv) such other information as is sufficient to identify the
             document, including, where appropriate, the author, addressee,
             custodian, and any other recipient of the document, and, where not
             apparent, the relationship of the author, addressee, custodian, and any
             other recipient to each other...).

             Finally, in the absence of a privilege log and without confirmation as to
             the existence of the subpoenaed records, we will have no choice but to
             alert the Court to our threshold dispute in order to avoid wasting the
             Court's time litigating over non-existent records.

             Thank you very much.
             Best,
             Mayer

             On Tue, Nov 23, 2021 at 2:05 PM Bertoni, Fabio
             <fabio_bertoni@newyorker.com> wrote:
               Mayer:

               The test is not whether the party seeking the information has access
               to the same notes or recordings of interviews the reporter may have
               conducted-- obviously that is never the case and would make the
               entire question moot. The point is that courts will not permit a party
               to obtain the reporter's notes or recordings when, as here, that party
               has access to the same individuals and can depose them directly.
               Without confirming whether or not The New Yorker has any such
               material, we decline to produce it, and assert well-established
               Constitutional principles for doing so, as set forth in the case I
               previously sent to you.

               Sincerely,
               Fabio

               On Tue, Nov 23, 2021 at 1:11 PM Mayer Engelsberg
               <mengelsberg@nklawllp.com> wrote:
                Hello Mr. Bertoni,
                Thank you for your email.
                Our subpoena is limited to audio and video recordings. These
                records are unavailable from another source. Can you please
                confirm the existence of responsive records?
                Thank you very much.
                Best,
                Mayer



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                 On Tue, Nov 16, 2021 at 10:46 AM Bertoni, Fabio
                 <fabio_bertoni@newyorker.com> wrote:
                   Mr. Engelsberg:
                   I am following up on our telephone conversation of last week, to
                   see wether you will withdraw your subpoenas to The New Yorker
                   and Conde Nast, et. al. I am attaching a recent opinion in which
                   The New Yorker, forced to litigate, was successful in having a
                   subpoena quashed, after motion practice and argument, in a
                   case that is precisely on point here. As you'll see, the court
                   noted parties may not seek reporter's notes and interviews when
                   they have access to the same sources through other means.
                   Since you are able to depose all of the relevant parties, there is
                   no need to seek information from journalists. Doing so would
                   violate important First Amendment rights that we are committed
                   to fighting for. Please let me know at your earliest convenience.

                    Sincerely,
                    Fabio Bertoni



                    --
                    Fabio Bertoni
                    General Counsel
                    The New Yorker
                    1 World Trade Center
                    New York, NY 10007
                    (212) 286-4991
                    fabio_bertoni@newyorker.com


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                 Mayer Engelsberg
                 Associate
                 Nathan & Kamionski LLP
                 575 S. Charles St.
                 Suite 402
                 Baltimore, MD 21201
                 (410) 885-4349
                 mengelsberg@nklawllp.com
                 www.nklawllp.com

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               --
               Fabio Bertoni
               General Counsel
               The New Yorker
               1 World Trade Center
               New York, NY 10007
               (212) 286-4991
               fabio_bertoni@newyorker.com


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             Mayer Engelsberg
             Associate
             Nathan & Kamionski LLP
             575 S. Charles St.
             Suite 402
             Baltimore, MD 21201
             (410) 885-4349
             mengelsberg@nklawllp.com
             www.nklawllp.com

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           --
           Fabio Bertoni
           General Counsel
           The New Yorker
           1 World Trade Center
           New York, NY 10007
           (212) 286-4991
           fabio_bertoni@newyorker.com




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